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                    UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF NextGen 1.6.3
                               Eastern Division

CenturyLink Communications, LLC, et
al.
                                           Plaintiff,
v.                                                      Case No.: 1:18−cv−03114
                                                        Honorable Sharon Johnson
                                                        Coleman
Peerless Network, Inc., et al.
                                           Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, September 26, 2022:


       MINUTE entry before the Honorable Sharon Johnson Coleman: Defendants'
motion for leave to file under seal confidential documents filed in support of its response
in opposition to plaintiffs' motion for summary judgment [285] is granted. No appearance
necessary on 10/5/2022. Mailed notice. (ym, )




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